                    Case 2:21-cv-01437-RSM Document 19 Filed 08/01/22 Page 1 of 4



                                                                  The Honorable Ricardo S. Martinez
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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9
     SEDRICK DEWAYNE ALTHEIMER,
10                                                       NO. 2:21-cv-01437
                                         Plaintiff,
11                                                       DEFENDANTS’ STATUS REPORT RE:
                vs.                                      CRIMINAL CASE
12

13   PIERCE COUNTY, WASHINGTON, and
     PIERCE COUNTY SHERIFF EDWARD C.
14   TROYER (a/k/a/ Ed Troyer), in his individual
     and official capacity,
15
                                       Defendants.
16

17              COME NOW Defendants Pierce County, Washington and Edward C. Troyer, by and
18   through their respective counsel of record, and pursuant to the Court’s Order Granting Defendant
19   Troyer’s Motion to Stay, hereby advise the Court of the status of Defendant Troyer’s parallel
20   criminal case pending in Pierce County District Court.1 Defendants conferred with Plaintiff
21   regarding an agreed Joint Status Report, but having not been able to reach agreement on language,
22   hereby submit this update to the Court.
23              The Parallel Criminal Case. On or about October 19, 2021, the State of Washington
24   charged Defendant Troyer with two gross misdemeanors – False Reporting and Making a False or
25

26   1
         Dkt. 18.



     DEFENDANTS’ STATUS REPORT - 1                                     LEDGER SQUARE LAW, P.S.
     NO. 2:21-cv-01437 RSM                                                    710 Market St.
                                                                            Tacoma, WA 98402
                                                                          Phone: (253) 327-1900
                                                                         Facsimile: (253) 327-1700
                Case 2:21-cv-01437-RSM Document 19 Filed 08/01/22 Page 2 of 4




 1   Misleading Statement to a Public Servant. The State filed the criminal action in Pierce County
 2   District Court where it is assigned Cause No. 1AC002225.2 Kitsap County District Court Judge
 3   Jeffrey J. Jahns has been assigned to preside over the Parallel Criminal Case. On May 6, 2022,
 4   Judge Jahns granted Defendant Troyer’s motion to continue the trial date for the Criminal Case
 5   from July 11, 2022 to October 31, 2022.
 6           The Present Lawsuit. On September 27, 2021, Plaintiff filed the present lawsuit in King
 7   County Superior Court.3 Defendant Pierce County, Washington removed the matter to the United
 8   States District Court for the Western District of Washington.4
 9           Shortly thereafter, Defendant Troyer moved to stay all proceedings in this case, arguing
10   that both cases arise out of the same incident and alleged facts, the risk of depravation of Defendant
11   Troyer’s Fifth Amendment due process rights is substantial, and that Plaintiff will not be unduly
12   prejudiced by a stay.5 Defendant Pierce County, Washington joined Defendant Troyer’s Motion
13   to Stay.6 Plaintiff did not oppose a stay but asked the Court to set a trial date for April 3, 2023.7
14           This Court granted Defendant Troyer’s Motion to Stay on January 11, 2022.8 In its Order,
15   the Court directed the parties to advise the Court of the status of the criminal case at the earlier of
16   its full adjudication or August 1, 2022.
17           The Parallel Criminal Case remains open and pending.                     The bases for staying all
18   proceedings in this case remain unchanged, and therefore, the parties respectfully request that the
19   Court extend the stay until such time as the Parallel Criminal Case is fully adjudicated.
20           Defendants request that the Court exercise its discretion and direct the parties to file another
21   Joint Status Report by December 5, 2022.
22
     2
       For purposes of this Joint Status Report, Pierce County District Court Cause No. 1AC002225, State of Washington
23   v. Edward C. Troyer, Jr., will be referred to as the “Criminal Case.”
     3
       Dkt. 1-1.
24   4
       Dkt. 1.
     5
       Dkt. 12.
25   6
       Dkt. 15.
     7
       Dkt. 16.
26   8
       Dkt. 18.



     DEFENDANTS’ STATUS REPORT - 2                                                 LEDGER SQUARE LAW, P.S.
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                                                                                      Phone: (253) 327-1900
                                                                                     Facsimile: (253) 327-1700
                Case 2:21-cv-01437-RSM Document 19 Filed 08/01/22 Page 3 of 4



              DATED this 1st day of August 2022.
 1
 2
     By:      s/ Gregory E. Jackson
 3         Gregory E. Jackson, WSBA #17541
           Jackson & Nicholson, P.S.
 4         900 SW 16th Street, Suite 215
           Renton, WA 98057
 5
           Telephone: (206) 582-6001
 6         Facsimile: (206) 466-6085
           Email: greg@jnseattle.com
 7         Attorney for Defendant Pierce County, WA
 8

 9   By:       s/ L. Clay Selby
           L. Clay Selby, WSBA #26049
10         Eric F. Schacht, WSBA #56342
           Ledger Square Law, P.S.
11         710 Market Street
           Tacoma, WA 98402
12         Telephone: (253) 327-1900
13         Facsimile: (253) 327-1700
           Email: clay@ledgersquarelaw.com
14                  eric@ledgersquarelaw.com
           Attorney for Defendant Edward C. Troyer
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     DEFENDANTS’ STATUS REPORT - 3                          LEDGER SQUARE LAW, P.S.
     NO. 2:21-cv-01437 RSM                                         710 Market St.
                                                                 Tacoma, WA 98402
                                                               Phone: (253) 327-1900
                                                              Facsimile: (253) 327-1700
               Case 2:21-cv-01437-RSM Document 19 Filed 08/01/22 Page 4 of 4



                                    CERTIFICATE OF SERVICE
 1
 2           The undersigned certifies under the penalty of perjury under the laws of the State of
 3   Washington that I am now and at all times herein mentioned a resident of the State of Washington,

 4   over the age of eighteen years, not a party to or interested in the above-entitled action, and
     competent to be a witness herein.
 5
             On the date given below, I caused to be served the foregoing document on the following
 6
     persons and in the manner listed below:
 7

 8                                                   
 9         Susan B. Mindenbergs                         CM/ECF
           Law Office of Susan B. Mindenbergs           Via Legal Messenger
10         705 Second Ae., Suite 1050                   Overnight Courier
           Seattle, WA 98104-1759                       Electronically via email
11                                                      Facsimile
12                                                   
13         Vonda M. Sargent                             CM/ECF
           The Law Office of Vonda M. Sargent           Via Legal Messenger
14         119 First Ave. S, Suite 500                  Overnight Courier
           Seattle, WA 98104-3400                       Electronically via email
15                                                      Facsimile
16                                                   
           Gregory E. Jackson                           CM/ECF
17
           Jackson & Nicholson, P.S.                    Via Legal Messenger
18         900 SW 16th St., Suite 215                   Overnight Courier
           Renton, WA 98057-2619                        Electronically via email
19                                                      Facsimile
20

21           DATED this 1st day of August 2022 at Tacoma, Washington.

22
                                                         s/ Amy Jean Shackelford
23                                               Amy Jean Shackelford, PP, PLS
                                                 Legal Assistant to L. Clay Selby and
24                                               Eric F. Schacht
25

26


     DEFENDANTS’ STATUS REPORT - 4                                     LEDGER SQUARE LAW, P.S.
     NO. 2:21-cv-01437 RSM                                                    710 Market St.
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                                                                         Facsimile: (253) 327-1700
